Case 21-01064-dd       Doc 40    Filed 09/15/21 Entered 09/15/21 10:34:41          Desc Main
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                    UNITED STATES BANKRUPTCY COURT
                      DISTRICT OF SOUTH CAROLINA


IN RE:                                                       C/A No. 21-01064-dd
Samuel Robert Sibbett and Marcia Watson                           Chapter 7
Sibbett




                                                   ORDER GRANTING RELIEF FROM
                                    Debtor(s).          AUTOMATIC STAY



This matter is before the Court on motion (dkt. #39) of Nationstar Mortgage LLC d/b/a Mr.
Cooper ("Movant") seeking relief from the automatic stay. The Movant has waived claims
arising under 11 U.S.C. §§ 503(b), 507(b). Based upon the certification of Movant the motion is
granted and it is

ORDERED that the automatic stay is lifted as to: 4862 James B. White Hwy S, Whiteville, NC
28472 (the "collateral"). Movant may send any required notice to Debtor(s) and proceed with its
remedies against the collateral.

AND IT IS SO ORDERED

 FILED BY THE COURT
     09/15/2021




                                                  David R. Duncan
                                                  US Bankruptcy Judge
                                                  District of South Carolina


   Entered: 09/15/2021
